       Case 23-13186-amc                    Doc 19 Filed 01/19/24 Entered 01/20/24 00:34:17                                             Desc Imaged
                                                 Certificate of Notice Page 1 of 3
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                Case No. 23-13186-amc
Jannet E. Baxter thru Dennis Baxter POA/                                                                              Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 17, 2024                                               Form ID: trc                                                               Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 19, 2024:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
14843229                  Email/Text: nsm_bk_notices@mrcooper.com
                                                                                        Jan 18 2024 00:08:00      Nationstar Mortgage LLC, Attn: BK Dept P.O.
                                                                                                                  Box 619096, Dallas, TX 75261-9741

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 19, 2024                                           Signature:            /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 17, 2024 at the address(es) listed
below:
Name                               Email Address
DANIEL P. JONES
                                   on behalf of Creditor NATIONSTAR MORTGAGE LLC djones@sterneisenberg.com bkecf@sterneisenberg.com

DENISE ELIZABETH CARLON
                                   on behalf of Creditor NATIONSTAR MORTGAGE LLC bkgroup@kmllawgroup.com

MARK A. CRONIN
                                   on behalf of Creditor NATIONSTAR MORTGAGE LLC bkgroup@kmllawgroup.com

PAUL H. YOUNG
                                   on behalf of Debtor Jannet E. Baxter thru Dennis Baxter POA/Next Friend support@ymalaw.com
                                   ykaecf@gmail.com,paullawyers@gmail.com,pyoung@ymalaw.com;youngpr83562@notify.bestcase.com,tkennedy@ymalaw.com
                                   ,lesliebrown.paralegal@gmail.com,cmccullough@ymalaw.com

SCOTT F. WATERMAN [Chapter 13]
                          ECFMail@ReadingCh13.com

STEVEN K. EISENBERG
                                   on behalf of Creditor NATIONSTAR MORTGAGE LLC seisenberg@sterneisenberg.com bkecf@sterneisenberg.com
      Case 23-13186-amc          Doc 19 Filed 01/19/24 Entered 01/20/24 00:34:17   Desc Imaged
                                      Certificate of Notice Page 2 of 3
District/off: 0313-2                                 User: admin                        Page 2 of 2
Date Rcvd: Jan 17, 2024                              Form ID: trc                      Total Noticed: 1
United States Trustee
                          USTPRegion03.PH.ECF@usdoj.gov


TOTAL: 7
        Case 23-13186-amc               Doc 19 Filed 01/19/24 Entered 01/20/24 00:34:17                                Desc Imaged
                                             Certificate of Notice Page 3 of 3
2100 B (12/15)


                                      United States Bankruptcy Court
                                                  Eastern District of Pennsylvania
                                                     Case No. 23-13186-amc
                                                           Chapter 13

In re: Debtor(s) (including Name and Address)

Jannet E. Baxter thru Dennis Baxter POA/
3560 Fort Lincoln Drive NE
Washington DC 20018



                       NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

The Claim No(s). listed below was/were filed or deemed filed under 11 U.S.C. § 1111(a) in this case
by the alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of
Claim Other than for Security in the clerk’s office of this court on 01/17/2024.



Name and Address of Alleged Transferor(s):                                        Name and Address of Transferee:
Claim No. 5: Nationstar Mortgage LLC, Attn: BK Dept P.O. Box 619096, Dallas, TX   US Bank Trust National Association
75261-9741                                                                        c/o Shellpoint Mortgage Servicing
                                                                                  P.O. Box 10826
                                                                                  Greenville, SC 29603-0675




                                       -- DEADLINE TO OBJECT TO TRANSFER --
The alleged transferor(s) of the claim is hereby notified that objections must be filed with the court
within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
cour t, the transferee will be substituted as the original claimant without further order of the court.


Date:     01/19/24                                               Tim McGrath
                                                                 CLERK OF THE COURT
